                          IN THE UNITED STATES DISTRICT COURT
                             EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

  UNITED STATES OF AMERICA,                        )
                                                   )
                        Plaintiff,                 )
                                                   )
  v.                                               )                   No. 3:19-CR-40-KAC-HBG
                                                   )
  STACEY EDWARD WILLIAMS, JR.,                     )
                                                   )
                        Defendant.                 )

                                 MEMORANDUM AND ORDER

                 The parties came before the undersigned on November 1, 2021, for a motion

  hearing on Defendant’s two pro se Motions to Substitute Counsel [Docs. 112 & 115], 1 which were

  filed on October 26 and 27, 2021, and referred to the undersigned on October 27 [Doc. 113] and

  October 28, 2021 [Doc. 116]. Assistant United States Attorneys Brent Nelson Jones and Anne-

  Marie Svolto appeared on behalf of the Government. Attorney Gerald L. Gulley, Jr., appeared

  with Defendant Stacey Williams, who was also present.

                 The Court substituted Mr. Gulley as Defendant Williams’s third counsel of record

  on March 20, 2020 [Doc. 64]. In the instant pro se motions, Defendant asks the Court to appoint

  substitute counsel, because he and Mr. Gulley have not had any communication and he has not

  returned the calls of Defendant’s family members, Mr. Gulley declined to file pretrial motions that

  Defendant believes should be filed, Mr. Gulley has only met with him regarding plea offers, and

  he questions whether Mr. Gulley has reviewed his case. At the November 1 hearing, Mr. Gulley



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    These two motions are identical and are dated October 22, 2021. To the second motion,
  Defendant has attached a letter [Doc. 115-1] from a consulting expert to Defendant’s prior counsel
  and a copy of a pro se Motion to Dismiss Indictment dated June 22, 2020 [Doc. 115-2]. Defendant
  failed to sign either motion for substitution or the motion to dismiss. However, at the November
  1 hearing, Defendant confirmed that he was seeking the substitution of counsel.


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  requested that the Court discuss Defendant’s concerns with Defendant in a sealed hearing. AUSA

  Jones said the Government opposes substitution of counsel on the day before trial. AUSA Jones

  argued that this case has been pending for more than two years and that Defendant has had multiple

  counsel in that time. He stated that the Government is prepared to move forward with trial

  tomorrow and that from all appearances, Mr. Gulley is too.

                 A defendant seeking the substitution of court-appointed counsel must show good

  cause for the substitution, such as an actual conflict of interest, a complete breakdown in

  communications between attorney and client, or an irreconcilable break in the attorney-client

  relationship. Wilson v. Mintzes, 761 F.2d 275, 280 (6th Cir. 1985). When a defendant states that

  he or she is dissatisfied with counsel, the Court must examine the defendant’s contentions to

  determine if good cause exists to grant substitute counsel. United States v. Vasquez, 560 F.3d 461,

  466 (6th Cir.), cert. denied 130 S. Ct. 476 (2009). In assessing good cause, the Court considers

  (1) the timeliness of the request for new counsel, (2) the extent of the problem between the attorney

  and the defendant, including whether the rift is so great that it prevents an adequate defense, and

  (3) the balance between the defendant’s interest in new counsel and “‘the public’s interest in the

  prompt and efficient administration of justice.’” Id. (quoting United States v. Mack, 258 F.3d 548,

  556 (6th Cir. 2001)).


                 In the instant case, the Court conducted a sealed, ex parte inquiry to learn the nature

  and extent of Defendant Williams’s dissatisfaction with counsel.           Without going into the

  confidential details of that discussion, the Court concludes that no basis exists to substitute new

  counsel for Mr. Gulley or to relieve Mr. Gulley of his representation of Defendant Williams. The

  Court finds Defendant’s request for new counsel is untimely, occurring one week before trial, with




                                                   2

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  a hearing thereon occurring the day before trial. 2 The Court also finds that the rift in the attorney-

  client relationship is not insurmountable and is in no way the fault of counsel. Instead, Defendant’s

  desire for new counsel appears to be based on his unfounded disregard of Mr. Gulley’s advice.

  Finally, given the Defendant’s failure to demonstrate good cause for the substitution of counsel

  and the length of time that this case has been pending, the Court finds that the public’s interest in

  the efficient administration of justice outweighs the Defendant’s interest in new counsel. The

  Court concludes that all the Vasquez factors weigh decidedly against the substitution of counsel.

  Accordingly, the Defendant’s pro se motions for new counsel [Docs. 112 & 115] are DENIED.


                 IT IS SO ORDERED.


                                                  ENTER:


                                                 United States Magistrate Judge




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   The Court notes that Defendant filed a letter on October 19, 2021 [Doc. 105], expressing some
  of the same concerns about counsel that he raises in his motions to continue. Following submission
  of this letter, Defendant did not raise any issues with the attorney-client relationship in the pretrial
  conference before District Judge Crytzer on October 21, 2021. Moreover, the Court finds that
  even if this letter were construed as a motion for new counsel, which it is not, it would have still
  been untimely.
                                                     3

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